Case 2:21-cv-01326-TSZ Document 10 Filed 09/30/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Western District of Washington a

Project Veritas

 

Plaintiff(s)
V.

The Leland Stanford Junior University and The
University of Washington

Civil Action No. 2:21-cv-01326 TSZ

 

— OS _ oi SS

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Leland Stanford Junior University,
Office of the General Counsel,
Building 170, Third Floor, Main Quad
Stanford, CA 94305-2038

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Joel B. Ard

Ard Law Group PLLC

PO Box 11633

Bainbridge Island, WA 98110

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT SEELEY

   
 

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Date: 09/30/2021

 

 

 

‘ Signature of Clerk or
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Case 2:21-cv-01326-TSZ Document 10 Filed 09/30/21 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:21-cv-01326 TSZ

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

Vertes

This summons for (name of individual and title, ifany) Ye O A ee
was received by me on (date) \\- QA ~ a\

0 i personally served the summons on the individual at (place)

on (date) » OF

7) | left the summons at the individual's residence or usual place of abode with (name)

.a person of suitable age and discretion who resides there,

on dat _and mailed a copy to the individual’s last known address; or

mes ge i who is
f | ses ec the summons on (name of individual) Tov Zhe 2

 

desiynated by law to accept service of process on behalf of (name of orfanization)
OS rce Of The Gamera Counsel omar N= DA = Qt sor

“I i returned the summons unexecuted because 3; or

 

Other (spe: Ay.

My fees are $ | AO for travel and $ for services, for a total of $ 0.00 :

I declare under penalty of perjury that this information is true. . |
Date: \\- BaA- QA . ‘ CL we

Server's signature

Dine: WS Yo males

Printed name and title

Server's address

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Additional information regarding attempted service, etc:

| Anotary public or other officer completing this certificate verifies only the identity
| of the individual who signed the document to wiich this certificate is attached,
i and not the truthfulness, accuracy, or validity of the document. |

 

ae _ |

State of California Subscribed and sworn to (or,affirmed) er ie
County of Santa Clara on ne 2th dayot NOVs 04},
Date ~ Month ‘Year

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to be the personiyh vio appeared before ine,

Signature .

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Signature @ y Public

 

 

 
Case 2:21-cv-01326-TSZ Document 10-1 Filed 09/30/21 Page 1 of 2

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UNITED STATES DISTRICT COURT

for the
Western District of Washington a

Project Veritas

 

Plaintiff(s)
V.

The Leland Stanford Junior University and The
University of Washington

Civil Action No. 2:21-cv-01326 TSZ

 

— OS _ oi SS

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The University of Washington
Division of the Attorney General's Office
UW Box 359475
Seattle, WA 98195

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Joel B. Ard

Ard Law Group PLLC

PO Box 11633

Bainbridge Island, WA 98110

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 09/30/2021

 

 
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

 

 

serve process in Washington State.

3) COMPLAINT
4) EXHIBITS A-D
5) CIVIL COVER SHEET

Declaration of Service- Page 1 of 2

 

In Re the Matter of:
PROJECT VERITAS, NO, 2:21 — CV — 01326 — TSZ
Plaintiff,
and AFFIDAVIT OF SERVICE
UNIVERSITY OF WASHINGTON, et al,
Defendant.
I Declare:
1. My name is Joshua Ritts. My mailing address is PO Box 23063, Seattle, WA 98102. I am

over the age of 18 years, and I am not a party to this action. | am authorized by law to

2. I served the following documents for the above referenced matter to the UNIVERSITY OF
WASHINGTON DIVISION OF THE ATTORNEY GENERAL:

1) SUMMONS (LELAND STANFORD JUNIOR UNIVERSITY)
2) SUMMONS (UNIVERSITY OF WA/DIVISION OF AG)

6) APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE (x2)

 

 
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7) NOTICE OF ELECTRONIC FILING

8) PLAINTIFF’S RULE 7.1 CORPORATE DISCLOSURE STATEMENT
9) PLAINTIFF’S JURY DEMAND

10) ORDER REGARDING INITIAL DISCLOSURES

11) PLAINTIFF’S MOTION TO EXTEND SCHEDULING DEADLINES
12) EMAILS WITH US DISTRICT COURT RE: FILING/DEADLINES
13) DOCKET SHEET

14) NOTICE OF ASSIGNMENT OF JUDGE

The date, time and place af service were:
Date: November 29, 2021 Time: 0905 Hours
Address: serviceATG@atg.wa.gov, uwago@uw.edu

 

4. Service was completed by emailing documents listed in Paragraph (2) above to the

addresses listed in Paragraph (3) above. As of 1044 Hours, November 29, 2021, I had
received email confirmation from Lanse Jones, Paralegal for the Attorney General’s

Office, University of Washington Division, that the files had been received (EXHIBIT A).

My fee for this service was $195 USD.

6. I declare under penalty of perjury under the laws of the State of Washington that the

foregoing is true and correct.

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Subscribed and sworn to wesc th this = } “ey of. Me wom he I

 

BRIAN MIRET ____sNotary Public

Notary Public
State of Washington My Commission Expires: how x 2 2BRE

Commission # 197375
My Comm. Expires Nov 20, 2025

 

Declaration of Service- Page 2 of 2

 
EXHIBITA
Joshua Ritts <josh@clearviewpicom->

 

Jones, Lanse (ATG) <lanse.jones@atg.wa.gov> Mon, Nov 29, 2021 at 10:44 AM
To: "josh@clearviewpi.com" <josh@clearviewpi.com>

Hi Joshua,
This email is to confirm receipt of the Project Veritas lawsuit documents via the AGO's online service portal today.

Lanse Jones, Paralegal

Attorney General's Office
University of Washington Division
UW Tower, Mailbox 359475

Telephone: (206) 543-3243
